Case 1:20-cr-00096-TWP-DLP Document 147-1 Filed 03/30/20 Page 1 of 5 PageID #: 463




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                  )
                                             )
        Plaintiff,                           )
                                             )
               v.                            )
                                             )
  CHRISTOPHER TATE,                          )   NO. 1:20-cr-0096-TWP-DLP -01
  JOVAN STEWART,                             )                            -02
        a/k/a Peso,                          )
  ROBERT HINTON,                             )                                 -03
  TIA DIMMETT,                               )                                 -04
  LACEY GUZMAN,                              )                                 -05
  SANDRA KELLOGG,                            )                                 -06
  DESIRAE EVANS,                             )                                 -07
  ERIC POORE,                                )                                 -08
        a/k/a Hollywood,                     )
  JOSE RODRIGUEZ-CHAVEZ,                     )                                 -09
        a/k/a Jalisco,                       )
        a/k/a Johnny,                        )
  JASON LEWIS,                               )                                 -10
  DWYATT HARRIS,                             )                                 -11
  DOROTHY KNIGHT, and                        )                                 -12
  CHAYLON RUSH,                              )                                 -13
                                             )
        Defendants,                          )


                                      ORDER


        This cause comes before the Court on the United States of America=s

  Motion to Establish Discovery Schedule, Continue Trial Date, and Grant

  Protective Order.

        And the Court, having considered said Motion, finds that the Motion is

  made in good faith, and the ends of justice served by the granting of such


                                         1
Case 1:20-cr-00096-TWP-DLP Document 147-1 Filed 03/30/20 Page 2 of 5 PageID #: 464




  continuance outweigh the best interests of the public and the defendant in a

  speedy trial.

          WHEREFORE, the Court, having considered the government=s Motion

  and having reviewed the facts and circumstances set forth therein, now hereby

  GRANTS the Motion to Establish Discovery Schedule and ORDERS that

  discovery in this case shall proceed as follows:

          1.      On or before April 13, 2020, the government shall disclose all

  Applications, Affidavits, and Orders pertaining to court-authorized Title III

  applications.

          2.      On or before April 13, 2020, the government shall disclose copies

  of all recordings made pursuant to court-authorized wire and electronic

  surveillance.

          3.      On or before April 13, 2020, the government shall disclose copies

  of all line sheets from Title III interceptions.

          4.      On or before April 20, 2020, the government shall disclose all

  search warrants and search warrant inventories pertaining to the searches

  conducted on November 17, 2017.

          5.      On or before May 4, 2020, the government shall disclose each

  defendant=s own criminal history and laboratory reports on all drug purchases

  and seizures completed to date and all fingerprint analysis reports completed to

  date.




                                             2
Case 1:20-cr-00096-TWP-DLP Document 147-1 Filed 03/30/20 Page 3 of 5 PageID #: 465




        6.     On or before May 11, 2020, the government shall file a Notice of

  Expert Witnesses and supplement the Notice thereafter as information becomes

  available.

        7.     Additionally, the defendants are ordered to provide reciprocal

  discovery pursuant to Federal Rules of Criminal Procedure 16(b)(1)(A) which

  includes permission to inspect and copy or photograph books, papers,

  documents, photographs, tangible objects, any results or reports of physical or

  mental examinations and of scientific tests or experiments made in connection

  with this case, or copies or portions thereof, which are within the possession,

  custody or control of any defendant and which the defendant(s) intends to

  introduce as evidence in chief at the trial, or which were prepared by a witness

  whom the defendant(s) intends to call at the trial when the results or reports

  related to that witnesses testimony.

        IT IS FURTHER ORDERED that the Court, having considered the

  government’s Motion and having reviewed the facts and circumstances set

  forth therein, now hereby GRANTS the continuance of trial in this cause. The

  present trial setting of May 18, 2020 is VACATED.

        Title 18, United States Code, Section 3161(h)(8)(A) provides that any

  delay resulting from the granting of a motion for continuance shall be excluded

  for purposes of the Speedy Trial Act if the Court grants the continuance based

  upon the finding that the ends of justice served by granting the continuance

  outweigh the best interest of the public and the defendants in a speedy trial.

  However, no period of delay from a continuance shall be excluded for purposes

                                          3
Case 1:20-cr-00096-TWP-DLP Document 147-1 Filed 03/30/20 Page 4 of 5 PageID #: 466




  of the Speedy Trial Act unless the Court sets forth its reasons for finding that

  the ends of justice served by granting the continuance outweigh the best

  interest of the public and the defendants in a speedy trial.

        Accordingly, the Court makes the following findings:

        1.    For the reasons set forth in paragraph 2 of the government’s

  Motion, the above-captioned matter qualifies as a complex case pursuant to 18

  U.S.C. § 3161(h)(8)(B)(ii). Because this case is so complex, due to the number

  of defendants and the nature of the prosecution, it is unreasonable to expect

  adequate preparation for pretrial proceedings and for the trial itself within the

  time limits established in the Speedy Trial Act. Id.

        2.    Failure to grant the continuance in the proceeding would be likely

  to make a continuation of the proceeding impossible or result in a miscarriage

  of justice. 18 U.S.C. § 3161(h)(8)(B)(i).

        Based upon the above, the Court concludes that the ends of justice

  served by granting the request of the United States for continuance of this trial

  date outweigh the best interests of the public and the defendants in a speedy

  trial. 18 U.S.C. § 3161(h)(8)(A). The period of delay resulting from this

  continuance shall be excludable time under the Speedy Trial Act. Id.

        IT IS FURTHER ORDERED that a pretrial conference be held in the

  above-captioned matter on the ______ day of June, 2020 at ____ ___m. in

  Courtroom 344, United States Courthouse, 46 East Ohio Street, Indianapolis,

  Indiana. All counsel shall attend the pretrial conference, at which time the

  Court and the parties will discuss a firm trial date for this matter.

                                              4
Case 1:20-cr-00096-TWP-DLP Document 147-1 Filed 03/30/20 Page 5 of 5 PageID #: 467




        IT IS FURTHER ORDERED that defense counsel and agents of defense

  counsel shall not photocopy or duplicate, in whole or in part, attach, circulate,

  nor publish in any manner, other than to share same with his client while

  maintaining the care, custody and control of same, any discovery or Jencks Act

  material provided by the government without providing the government with an

  opportunity to be heard regarding the public disclosure and only upon prior

  permission for public disclosure being granted by the Court.

        It is so ORDERED this             day of ___________, 2020.




                                       _________________________________
                                       Honorable Tanya Walton Pratt, Judge
                                       United States District Court
                                       Southern District of Indiana

  Distribution:

  All counsel of record




                                          5
